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                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF OHIO
                                    EASTERN DIVISION

  IN RE NATIONAL PRESCRIPTION
  OPIATE LITIGATION                               MDL 2804
                                                  Case No. 17-md-2804
  This document relates to:

                                                  Hon. Dan Aaron Polster
  All Cases




               REVISED NOTICE OF PUBLIC DISCLOSURE OF ARCOS DATA


       On July 15, 2019, the Court entered an Order (Dkt. 1845) regarding public access to the

ARCOS data covering opioid shipments from 2006 to 2012. On January 14, 2020, the Court entered

an Order (Dkt. 3080) regarding public access to the ARCOS data covering opioid shipments from

2013 to 2014. Please take notice the PEC has posted links to both the raw data provided by the DEA

(for years 2006 through 2014) as well as the processed data utilized by the PEC (for the years 2006

through 2014) at www.slcg.com. The two links allow anyone to download the raw and processed data.

These files are very large; download time will depend on the user’s computing resources and the

number of users attempting to download the files. For any questions or support concerning this

ARCOS data contact ARCOS@levinlaw.com.

                                                     Respectfully submitted,

                                                     s/Peter J. Mougey
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                               CERTIFICATE OF SERVICE
   I hereby certify that on April 13, 2020 I electronically filed the foregoing with the Clerk
of Court by using the CM/ECF system. Copies will be served upon counsel of record by, and
may be obtained through, the Court CM/ECF system.


                                                     s/Peter J. Mougey
                                                     Peter J. Mougey
                                                     For the PEC




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